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                     UNITED STATES DISTRICT COURT                         A.^QliSTA flV.
                     SOUTHERN DISTRICT OF GEORGIA
                          AUGUSTA DIVISION


UNITED STATES OF AMERICA                           CR115-77


        V.




MELVIN HOWARD


                     CONSENT ORDER OF FORFEITURE


      WHEREAS, on August 4, 2015, a federal grand jury sitting in the Southern

District of Georgia returned a thirty-three-count Indictment against Defendant

Melvin Howard and fifteen others, charging violations of 21 U.S.C. § 846 (Count

One - Conspiracy to Distribute and Possess with Intent to Distribute Controlled

Substances); 21 U.S.C. § 841(a)(1) (Counts Two through Three - Distribution of

Controlled Substances); 21 U.S.C. § 841(a)(1) (Counts Four through Nine -

Possession with Intent to Distribute Controlled Substances); 21 U.S.C. § 843(b)

(Counts Ten through Thirty-One - Use of a Communication Facility in Commission

of a Felony); and 18 U.S.C. § 922(g)(1)(Counts Thirty-Two through Thirty-Three -

Possession of a Firearm by a Convicted Felon);

      WHEREAS,the Indictment sought forfeiture pursuant 21 U.S.C. § 853 of any

property constituting or derived from proceeds obtained directly or indirectly as a

result of such offenses and any property used or intended to be used to commit and

facilitate the commission of the offenses charged in Counts One through Thirty-One

of the Indictment, including but not limited to the following property:
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   1.   $68,357.20 in U.S. Currency, which constitutes the proceeds of the
        sale of certain real property located at 48 Poplar Street, Wadley,
        Jefferson County, Georgia 30477;

   2.   $52,218.00 in U.S. Currency seized from 48 Poplar Street, Wadley,
        Georgia;

   3.   1996 Chevrolet Impala SS, VIN 1G1BL52PXTR193127;

   4.   2007 Suzuki GSX1300RZ Motorcycle, VIN JS1GW71A972103956;

   5.   $8,000.00 in U.S. Currency seized from 111 Cedar Street, Wadley,
        Georgia;

   6.   2003 Ford F250 Super Duty, VIN 1FTNW20F73EA20791;

   7.   2007 Haulmark RT85X30WT3 Race Trailer, VIN
        16HGB30287G089630;

   8.   $2,500.00 in U.S. Currency seized from 1446 Goins Road,
        Wrightsville, Georgia;

   9.   $19,043.00 in U.S. Currency seized from 1446 Goins Road,
        Wrightsville, Georgia;

   10. 2012 Audi A7 Quattro, VIN WAUYGAFC8CN121174;

   11. $18,200.00 in U.S. Currency seized from 10230 Old Savannah Road,
       Tennille, Georgia;

   12. 1996 Chevrolet Impala, VEN 1G1BL52P7TR164362;

   13. $3,714.00 in U.S. Currency seized from 429 Utley Road, Waynesboro,
       Georgia;

   14. $1,809.00 in U.S. Currency seized from 1063 Robinson Road, Wadley,
       Georgia;

   15. 2007 Chevrolet Tahoe, VIN 1GNFC13J57J147339;

   16. 2008 Chevrolet Tahoe, VIN 1GNFC13058R223281;

   17. 2005 Chevrolet Suburban, VTN 1GNEC16Z75J143948; and
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          18. 2004 Chevy Silverado pickup truck, VIN 1GCHK23U74F158331;

      WHEREAS, the Indictment also sought forfeiture pursuant to 18 U.S.C §

924(d) and 28 U.S.C § 2461(c) of any firearms and ammunition involved in the

commission of the offense charged in Count Thirty-Three, namely a Smith &

Wesson 9mm pistol bearing serial number PDW0449;

      WHEREAS, the Indictment further provided for the forfeiture of substitute

assets pursuant to 21 U.S.C § 853(p), of any other property of Defendant up to the

value of the property subject to forfeiture;

      WHEREAS, on February 4, 2016, pursuant to written plea agreement.

Defendant pled guilty to the lesser included offense of Count One of the Indictment

charging a violation of 21 U.S.C. § 846, Conspiracy to Distribute and Possess with

Intent to Distribute Controlled Substances;

      WHEREAS, pursuant to his plea agreement. Defendant agreed to forfeit to

the United States all right, title and interest in any proceeds from and property

used or intended to be used to facilitate the commission of the offense to which he

has pled guilty, including but not limited to the following property:

          1.   $68,357.20 seized from Attorney Trust Account #27141 at First State
               Bank, 300 East Broad Street, Wrens, Georgia 30833;

          2.   $52,218.00 in U.S. Currency seized from 48 Poplar Street, Wadley,
               Georgia;

          3.   1996 Chevrolet Impala SS, VIN 1G1BL52PXTR193127;

          4.   2007 Suzuki GSX1300RZ Motorcycle, VIN JS1GW71A972103956;
               and




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            5.    2007 Haulmark RT85X30WT3 Race Trailer, VIN
                  16HGB30287G089630


(collectively, the "Subject Property"); and

       WHEREAS, pursuant to his plea agreement. Defendant agreed to waive the

requirements of Federal Rules of Criminal Procedure ll(b)(l)(J), 32.2, and 43(a)

regarding notice of the forfeiture in the charging instrument, announcement of the

forfeiture at sentencing, and incorporation of the forfeiture in the judgment without

further order of the Court.


       NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

DECREED THAT:


       1.        Pursuant 21 U.S.C. § 853 and Rule 32.2(b)(1) of the Federal Rules of

Criminal Procedure, the Government has established the requisite nexus between

the Subject Property and the offense committed by Defendant, and the Subject

Property is hereby forfeited to the United States.

       2.        Upon the entry of this Order, in accordance with Fed. R. Grim. P.

32.2(b)(3), the Attorney General (or a designee) is authorized to seize the Subject

Property, and to conduct any discovery that may assist in identifying, locating or

disposing of the Subject Property, any property traceable thereto, or any property

that may be forfeited as substitute assets.

       3.        Upon entry of this Order, the Attorney General (or a designee) is

authorized to commence any applicable proceeding to comply with statutes

governing third-party rights, including giving notice of this Order. No such notice




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or ancillary proceeding is necessary to the extent that this Order consists solely as a

judgment for a sum of money. See Fed. R. Grim. P. 32.2(c)(1).

      4.     Any person, other than the above-named defendant, asserting a legal

interest in the Subject Property may, within thirty days of the final publication of

notice or receipt of notice, whichever is earlier, petition the court for a hearing

without a jury to adjudicate the validity of his alleged interest in the Subject

Property, and for an amendment of the order of forfeiture, pursuant to 28 U.S.C. §

2461(c).

      5.     Pursuant to Fed. R. Grim. P. 32.2(b)(3), this Gonsent Order of

Forfeiture shall become final as to Defendant at the time of sentencing and shall be

made part of the sentence and included in the judgment. If nO third party files a

timely claim, this Order shall become the Final Order of Forfeiture, as provided by

Fed. R. Grim. P. 32.2(c)(2).

      6.     Any petition filed by a third party asserting an interest in the Subject

Property shall be signed by the petitioner under penalty of pei^'ury and shall set

forth the nature and extent of the petitioner's right, title, or interest in the Subject

Property, the time and circumstances of the petitioner's acquisition of the right,

title or interest in the Subject Property, and any additional facts supporting the

petitioner's claim and the relief sought.

      7.     If a petition is filed by a third party, and after the disposition of any

motion filed under Fed. R. Grim. P. 32.2(c)(1)(A) and before a hearing on the

petition, discovery may be conducted in accordance with the Federal Rules of Givil




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Procedure upon a showing that such discovery is necessary or desirable to resolve

factual issues.


       8.     The United States shall have clear title to the Subject Property

following the Court's disposition of all third-party interests, or if none, following the

expiration of the period provided in 21 U.S.C. § 853(n)(2) for the filing of third-party

petitions.

       9.     The Court shall retain jurisdiction to enforce this Order, and to amend

it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).

        10.   The Clerk of the Com't shall forward four certified copies of this Order

to Assistant U.S. Attorney Patricia Green Rhodes, United States Attorney's Office

for the Southern District of Georgia, P.O.             Augusta, Georgia 30903.


Date
                                  J. RAND^ HALL, JUDGE
                                  [NIT^ STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA


WE ASK FOR THIS:




Patricia Green Rhodes                                    [4lvin Howard
Assistant United States Attorney                      Defendant
Georgia Bar Number 307288
P.O. Box 2017                                         Date
Augusta, Georgia 30903
(706) 724-0517

                                                      Keith Bydohmsoil7Esq.
Date                                                  Attorne^z-iblf^Defendant

                                                      Date:




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